

People v Irlanda (2022 NY Slip Op 00735)





People v Irlanda


2022 NY Slip Op 00735


Decided on February 03, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 03, 2022

Before: Manzanet-Daniels, J.P., Webber, Oing, Mendez, Higgitt, JJ. 


 SCID No. 99016/20 Appeal No. 15227 Case No. 2020-04738 

[*1]The People of State of New York, Respondent,
vChristopher Irlanda, Defendant-Appellant. 


Robert S. Dean, Center for Appellate Litigation, New York (Benjamin Rutkin-Becker of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Morgan Namian of counsel), for respondent.



Order, Supreme Court, Bronx County (Raymond L. Bruce, J.), entered on or about October 30, 2020, which adjudicated defendant a level two sex offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion when it declined to grant a downward departure (see People v Gillotti, 23 NY3d 841 [2014]). The mitigating factors cited by defendant were adequately taken into account by the guidelines or were outweighed by the seriousness of the underlying offense against a child, as well as defendant's extensive criminal history (see People v Ramos, 199 AD3d 423 [1st Dept 2021]). "Furthermore, defendant has provided little evidence of his claimed mitigating factors that would corroborate assertions by himself or his attorney" (id. at 424). Although defendant was subject to a lengthy period of probation, we do not find that to be a significant mitigating factor, particularly because defendant committed the underlying sex crime while he was already on probation from a prior conviction (see People v Lewis, 143 AD3d 604 [1st Dept 2016], lv denied 28 NY3d 916 [2017]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 3, 2022








